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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
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 11     JOSE LUIS MUNOZ,                        Case No. 2:19-cv-10439-MWF (GJS)
 12                  Petitioner
 13            v.                                JUDGMENT
 14     J. PICKEET,
 15                  Respondent.
 16
 17
 18          Pursuant to the Court’s Order Accepting Findings and Recommendations of
 19    United States Magistrate Judge,
 20
 21          IT IS ADJUDGED THAT this action is dismissed with prejudice.
 22
 23    DATE: January 11, 2021
 24                                        __________________________________
                                           MICHAEL W. FITZGERALD
 25                                        UNITED STATES DISTRICT JUDGE
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